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                                        STATE OF NEW YORK
                                  OFFICE OF THE ATTORNEY GENERAL

  LETITIA JAMES                                                                    DIVISION OF STATE COUNSEL
  ATTORNEY GENERAL                                                                       LITIGATION BUREAU

BY ECF AND E-MAIL                                                                         November 23, 2020
The Honorable Gregory H. Woods
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

RE:    New York Independent Venue Association, et al. v. Bradley, No. 20-cv-6870

Dear Judge Woods:

      This Office represents defendant Vincent G. Bradley, sued in his official capacity as
Chairman of the New York State Liquor Authority (“SLA”).

        As directed by the Court at the November 20, 2020 pre-motion conference, the parties write
jointly regarding the status of other ongoing proceedings relating to the SLA Guidance at issue in
this matter, and the effect of those actions on the present case. Further, Defendant renews his
request that this matter be stayed pending the appeals in those other proceedings.

       First, on October 15, 2020, the Erie County Supreme Court issued an Order and Judgment
in the matter Sportsmen’s Tavern LLC v. New York State Liquor Authority, Index no.
809297/2020 (Erie County Sup. Ct.) (the “Sportsmen’s Order”). The Sportsmen’s Order, which
was the final judgment of the court disposing of the proceeding, declared the SLA Guidance to be
unconstitutional under the First Amendment of the U.S. Constitution, and arbitrary and capricious
under Article 78 of the New York Civil Practice Law and Rules. On that basis, the court
permanently enjoined the SLA from enforcing the SLA Guidance. The SLA has appealed the
Sportsmen’s Order to the Appellate Division, Fourth Department, where the SLA’s motion for a
stay pending appeal is currently pending. See Sportmen’s Tavern LLC v. New York State Liquor
Authority, Docket no. 20-1360 (N.Y. App. Div. 4th Dep’t.).

        Second, on November 13, 2020, the U.S. District Court, Western District of New York,
issued a Decision and Order in the matter Hund v. Cuomo et al., no. 20-cv-1176 (W.D.N.Y.) (the
“Hund Order”), ruling on both the plaintiff’s motion for a preliminary injunction and the
defendants’ motion to dismiss. On the motion to dismiss, the court denied Chairman Bradley’s
motion to dismiss with respect to Plaintiff’s First Amendment and substantive due process claims,
and granted Chairman Bradley’s motion with respect to Plaintiff’s procedural due process, equal
protection, and takings claims. The court dismissed the claims against defendant Governor Andrew
Cuomo in their entirety. On the motion for a preliminary injunction, the court enjoined Chairman
Bradley from enforcing the SLA Guidance. Chairman Bradley has appealed the Hund Order to the


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Second Circuit, and on November 20, 2020, filed an emergency motion for a stay pending appeal.
That motion remains pending. See Hund v. Bradley et al., no. 20-3908 (2d Cir.).

        Pursuant to the injunction issued in Hund, the SLA Guidance at issue in this case may not
currently be enforced by the SLA unless its motion for a stay pending appeal is granted. On this
basis, Defendant believes that this matter should be held in abeyance pending the decision of the
Second Circuit in Hund. Plaintiffs oppose holding the case in abeyance because proceeding to
discovery would allow the development of the factual record while the appellate courts examine
the law, and thus wish to proceed with briefing of Chairman Bradley’s proposed motion to dismiss.

       The parties appreciate the Court’s attention to this matter.


                                                     Respectfully submitted,

                                                     /s/ Matthew L. Conrad
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cc:    Jonathan Corbett, Esq. (by ECF)
